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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF ALABAMA
                              NORTHERN DIVISION

FRANCES WENTZ,                               )
                                             )
       Plaintiff,                            )
                                             )
v.                                           )       CASE NO. 2:17-cv-657-GMB
                                             )
BURLINGTON COAT FACTORY                      )
WAREHOUSE CORPORATION,                       )
                                             )
       Defendant.                            )

                                          ORDER

       Before the court is the parties’ Joint Stipulation of Dismissal. Doc. 52. In light of

the foregoing, it is ORDERED that this action is DISMISSED, with prejudice, costs taxed

as paid. The Clerk of Court is DIRECTED to enter this judgment as a final judgment on

the docket sheet and to close the file.

       DONE this 1st day of February, 2019.
